                    Case 2:17-cv-07176-VAP-RAO                                            Document 1-2                       Filed 08/17/17                   Page 1 of 2 Page ID
                                                                                  CIVIL COVER SHEET
?H&75C8!--!#GSd'!)/(*0$!!
!                                                                                        #:27                       !
IVS!?H&75C8!--!QWdWZ!Q]dS`!aVSSb!O\R!bVS!W\T]`[ObW]\!Q]\bOW\SR!VS`SW\!\SWbVS`!`S^ZOQS!\]`!ac^^ZS[S\b!bVS!TWZW\U!O\R!aS`dWQS!]T!^ZSORW\Ua!]`!]bVS`!^O^S`a!Oa!`S_cW`SR!Pg!ZOe%!!
SfQS^b!Oa!^`]dWRSR!Pg!Z]QOZ!`cZSa!]T!Q]c`b'!IVWa!T]`[%!O^^`]dSR!W\!Wba!]`WUW\OZ!T]`[!Pg!bVS!?cRWQWOZ!7]\TS`S\QS!]T!bVS!J\WbSR!HbObSa!W\!HS^bS[PS`!*20-%!Wa!`S_cW`SR!T]`!bVS!7ZS`Y!]T!
7]c`b!b]!W\WbWObS!bVS!QWdWZ!R]QYSb!aVSSb'!(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)!
I. (a)!PLAINTIFFS!                                                                                                DEFENDANTS
                                                                                                                Snap Inc.; Spiegel, Evan; Murphy, Robert; Vollero, Andrew; Coles; Joanna; Lafley, A.G.;
    Iuso, Joseph                                                                                                Lasky, Mitchell; Lynton, Michael; Meresman, Stanley; Miller, Scott D.; (see attachment)
! (b)!7]c\bg!]T!GSaWRS\QS!]T!;W`ab!AWabSR!EZOW\bWTT!                                                              7]c\bg!]T!GSaWRS\QS!]T!;W`ab!AWabSR!8STS\RO\b!      Los Angeles
! ! (EXCEPT IN U.S. PLAINTIFF CASES)!                                                                             (IN U.S. PLAINTIFF CASES ONLY)!
                                                                                                                  CDI93!!!!!!>C!A5C8!7DC89BC5I>DC!75H9H%!JH9!I=9!AD75I>DC!D;!
                                                                                                                  !!         I=9!IG57I!D;!A5C8!>CKDAK98'!
! (c)!!!5bb]`\Sga!(Firm Name, Address, and Telephone Number)!                                                     5bb]`\Sga!(If Known)!
                                                                                                            !
    Whitney E. Street (223870)                                                                                  Boris Feldman (128838), Ignacio E. Salceda (164017)
    Block & Leviton LLP                                                                                         Wilson Sonsini Goodrich & Rosati, Professional Corporation
    610 16th Street, Suite 214, Oakland, CA 94612 (415) 968-8999       (see attachment)                         650 Page Mill Road, Palo Alto, CA 94304 (650) 493-9300
II.           BASIS OF JURISDICTION (Place an “X” in One Box Only)!                             III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff!
                                                                                                !    (For Diversity Cases Only) ! ! ! ! and One Box for Defendant) !
                                                                                                                                           PTF       DEF                                             PTF      DEF
      *!! J'H'!<]dS`\[S\b!EZOW\bWTT!!        ,!! ;SRS`OZ!FcSabW]\!                                    7WbWhS\!]T!IVWa!HbObS!!                *!!      *!       >\Q]`^]`ObSR!or!E`W\QW^OZ!EZOQS!        -!       -!
     !    !                                      (U.S. Government Not a Party)
                                                                                                      !                                       !         !      ]T!6caW\Saa!>\!IVWa!HbObS!
                                                                                                      7WbWhS\!]T!5\]bVS`!HbObS!!              +!!       +!!    >\Q]`^]`ObSR!and!E`W\QW^OZ!EZOQS!!       .!!      .!
      +!! J'H'!<]dS`\[S\b!8STS\RO\b!         -!! 8WdS`aWbg!                                           !                                       !         !      ]T!6caW\Saa!>\!5\]bVS`!HbObS!
      !    !                                    (Indicate Citizenship of Parties in Item III)
                                                                                                      7WbWhS\!]`!HcPXSQb!]T!O!!               ,!!       ,!!    ;]`SWU\!CObW]\!!                         /!!      /!
                                                                                                      ;]`SWU\!7]c\b`g!
!
IV.            NATURE OF SUIT!!!(Place an “X” in One Box Only)!
             CONTRACT!                                                 TORTS!                                     FORFEITURE/PENALTY!                    BANKRUPTCY!                        OTHER STATUTES!
     **)!>\ac`O\QS!                        PERSONAL INJURY                    PERSONAL INJURY                     /+.!8`cU!GSZObSR!HSWhc`S!]T!      -++!5^^SOZ!+1!JH7!n!*.1!               ,0.!;OZaS!7ZOW[a!5Qb!
     *+)!BO`W\S!                                                                                                      E`]^S`bg!+*!JH7!n!11*!        -+,!LWbVR`OeOZ!+1!JH7!                 ,0/!FcW!IO[!#,*!JH7!
                                         ,*)!5W`^ZO\S!                      ,/.!ES`a]\OZ!>\Xc`g!l!E`]RcQb!
     *,)!BWZZS`!5Qb!                                                            AWOPWZWbg!                        /2)!DbVS`!                            n!*.0!                                n!,0+2#O$$!
                                         ,*.!5W`^ZO\S!E`]RcQb!AWOPWZWbg!
     *-)!CSU]bWOPZS!>\ab`c[S\b!                                             ,/0!=SOZbV!7O`S(!                                LABOR                    PROPERTY RIGHTS                      -))!HbObS!GSO^^]`bW]\[S\b!
                                         ,+)!5aaOcZb%!AWPSZ!"!HZO\RS`!
     *.)!GSQ]dS`g!]T!                                                           EVO`[OQScbWQOZ!ES`a]\OZ!                                                                                   -*)!5\bWb`cab!
                                         ,,)!;SRS`OZ!9[^Z]gS`ai!                                                  0*)!;OW`!AOP]`!HbO\RO`Ra!5Qb!     1+)!7]^g`WUVba!
           DdS`^Og[S\b!DT!                                                      >\Xc`g!E`]RcQb!AWOPWZWbg!                                                                                  -,)!6O\Ya!O\R!6O\YW\U!
                                             AWOPWZWbg!                                                           0+)!AOP]`(BO\OUS[S\b!             1,)!EObS\b!
           KSbS`O\ia!6S\STWba!                                              ,/1!5aPSab]a!ES`a]\OZ!>\Xc`g!                                                                                  -.)!7][[S`QS!
                                         ,-)!BO`W\S!                                                                  GSZObW]\a!                    1,.!EObS\b"5PP`SdWObSR!CSe!
     *.*!BSRWQO`S!5Qb!                                                          E`]RcQb!AWOPWZWbg!
                                         ,-.!BO`W\S!E`]RcQb!AWOPWZWbg!                                            0-)!GOWZeOg!AOP]`!5Qb!                8`cU!5^^ZWQObW]\!                  -/)!8S^]`bObW]\!
     *.+!GSQ]dS`g!]T!8STOcZbSR!                                             PERSONAL PROPERTY                                                                                              -0)!GOQYSbSS`!>\TZcS\QSR!"!
                                         ,.)!B]b]`!KSVWQZS!                                                       0.*!;O[WZg!O\R!BSRWQOZ!           1-)!I`ORS[O`Y!
           HbcRS\b!A]O\a!#9fQZcRSa!                                         ,0)!DbVS`!;`OcR!                                                                                                  7]``c^b!D`UO\WhObW]\a!
                                         ,..!B]b]`!KSVWQZS!E`]RcQb!                                                   ASOdS!5Qb!
           KSbS`O\a$!                                                       ,0*!I`cbV!W\!AS\RW\U!                                                      SOCIAL SECURITY                     -1)!7]\ac[S`!7`SRWb!
                                             AWOPWZWbg!                                                           02)!DbVS`!AOP]`!AWbWUObW]\!
     *.,!GSQ]dS`g!]T!                                                       ,1)!DbVS`!ES`a]\OZ!E`]^S`bg!                                            1/*!=>5!#*,2.TT$!
                                         ,/)!DbVS`!ES`a]\OZ!>\Xc`g!                                               02*!9[^Z]gSS!GSbW`S[S\b!                                                 -2)!7OPZS(HOb!IK!
           DdS`^Og[S\b!                                                         8O[OUS!                               >\Q][S!HSQc`Wbg!5Qb!          1/+!6ZOQY!Ac\U!#2+,$!                  1.)!HSQc`WbWSa(7][[]RWbWSa(!
     ! !]T!KSbS`O\ia!6S\STWba!           ,/+!ES`a]\OZ!>\Xc`g!&BSRWQOZ!
                                             BOZ^`OQbWQS!!                  ,1.!E`]^S`bg!8O[OUS!E`]RcQb!                                            1/,!8>L7(8>LL!#-).#U$$!                   9fQVO\US!
     */)!Hb]QYV]ZRS`ai!HcWba!                                                   AWOPWZWbg!                             IMMIGRATION
                                                                                                                                                    1/-!HH>8!IWbZS!MK>!                    12)!DbVS`!HbObcb]`g!5QbW]\a!
     *2)!DbVS`!7]\b`OQb!                                                                                          -/+!CObc`OZWhObW]\!
                                              CIVIL RIGHTS                  PRISONER PETITIONS                                                      1/.!GH>!#-).#U$$!                      12*!5U`WQcZbc`OZ!5Qba!
     *2.!7]\b`OQb!E`]RcQb!AWOPWZWbg!                                                                                  5^^ZWQObW]\!
                                         --)!DbVS`!7WdWZ!GWUVba!               HABEAS CORPUS                                                          FEDERAL TAX SUITS                    12,!9\dW`]\[S\bOZ!BObbS`a!
     *2/!;`O\QVWaS!                                                                                               -/.!DbVS`!>[[WU`ObW]\!
                                         --*!K]bW\U!                        -/,!5ZWS\!8SbOW\SS!                       5QbW]\a!                                                             12.!;`SSR][!]T!>\T]`[ObW]\!
                                                                                                                                                    10)!IOfSa!#J'H'!EZOW\bWTT!]`!
          REAL PROPERTY                  --+!9[^Z]g[S\b!                                                                                                                                      5Qb!
                                                                            .*)!B]bW]\a!b]!KOQObS!                                                      8STS\RO\b$!
     +*)!AO\R!7]\RS[\ObW]\!              --,!=]caW\U(!                          HS\bS\QS!                                                                                                  12/!5`PWb`ObW]\!
                                                                                                                                                    10*!>GHlIVW`R!EO`bg!+/!JH7!
     ++)!;]`SQZ]ac`S!                        5QQ][[]RObW]\a!                .,)!<S\S`OZ!                                                                n!0/)2!                            122!5R[W\Wab`ObWdS!E`]QSRc`S!
                                         --.!5[S`'!e(8WaOPWZWbWSal                                                                                                                            5Qb(GSdWSe!]`!5^^SOZ!]T!
     +,)!GS\b!ASOaS!"!9XSQb[S\b!                                            .,.!8SObV!ES\OZbg!
                                             9[^Z]g[S\b!                                                                                                                                      5US\Qg!8SQWaW]\!
     +-)!I]`ba!b]!AO\R!                                                              OTHER                                                                                                 2.)!7]\abWbcbW]\OZWbg!]T!HbObS!
     +-.!I]`b!E`]RcQb!AWOPWZWbg!         --/!5[S`'!e(8WaOPWZWbWSalDbVS`!
                                                                            .-)!BO\RO[ca!"!DbVS`!                                                                                             HbObcbSa!
     +2)!5ZZ!DbVS`!GSOZ!E`]^S`bg!        --1!9RcQObW]\!
                                                                            ..)!7WdWZ!GWUVba!
                                                                            ...!E`Wa]\!7]\RWbW]\!
                                                                            ./)!7WdWZ!8SbOW\SSl!
                                                                                7]\RWbW]\a!]T!
                                                                                7]\TW\S[S\b!
!
V.             ORIGIN (Place an “X” in One Box Only)!
     *    D`WUW\OZ!                 +!   GS[]dSR!T`][!             ,     GS[O\RSR!T`][!          -!   GSW\abObSR!]`!          . I`O\aTS``SR!T`][!!             /    BcZbWRWab`WQb!!!         1 BcZbWRWab`WQb!
          E`]QSSRW\U!                    HbObS!7]c`b!                    5^^SZZObS!7]c`b!             GS]^S\SR!                 5\]bVS`!8Wab`WQb!(specify)!         AWbWUObW]\lI`O\aTS`!       AWbWUObW]\l8W`SQb!;WZS!
!
VI.            CAUSE OF         7WbS!bVS!J'H'!7WdWZ!HbObcbS!c\RS`!eVWQV!g]c!O`S!TWZW\U!!(Do not cite jurisdictional statutes unless diversity)3!
                                !!15 U.S.C. § 77k
               ACTION!
                                6`WST!RSaQ`W^bW]\!]T!QOcaS3!
                                !!Alleged false and misleading statements and omissions in SEC filings
!
VII.           REQUESTED IN                  7=97@!>;!I=>H!>H!5!CLASS ACTION!                         DEMAND $
                                                                                                                         !
                                                                                                                                                      7=97@!N9H!]\Zg!WT!RS[O\RSR!W\!Q][^ZOW\b3!
               COMPLAINT:!                   JC89G!GJA9!+,%!;SR'!G'!7Wd'!E'!                                                                          JURY DEMAND:             NSa!      C]!

VIII. RELATED CASE(S),                                    ?J8<9! Stephen
      IF ANY (See instructions):
                                                                  !      V. Wilson (CD Cal) 8D7@9I!CJB69G! 2:17-cv-03679; 2:17-cv-05054;
                                                                                                                             !           2:17-cv-05569
!
IX.            DIVISIONAL ASSIGNMENT (Civil Local Rule 3-2)!
(Place an “X” in One Box Only)      SAN FRANCISCO/OAKLAND                                                                          SAN JOSE                         EUREKA-MCKINLEYVILLE !


DATE 08/17/2017                                           SIGNATURE OF ATTORNEY OF RECORD                                                  s/Boris Feldman
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                                         #:28


  1                          ATTACHMENT TO CIVIL COVER SHEET
  2                                    IUSO v. SNAP INC., et al.

  3

  4   ADDITIONAL DEFENDANTS:
  5   Young, Christopher
      Morgan Stanley & Co. LLC,
  6   Goldman, Sachs, & Co.,
      J.P. Morgan Securities LLC,
  7   Deutsche Bank Securities Inc.,
      Barclays Capital Inc.,
  8   Credit Suisse Securities (USA) LLC,
      Allen & Company LLC,
  9   BTIG, LLC,
      C.L. King & Associates, Inc.,
 10   Citigroup Global Markets Inc.,
      Connaught (UK) Limited,
 11   Cowen and Company, LLC,
      Evercore Group, LLC,
 12   Jefferies LLC,
      JMP Securities LLC,
 13   LionTree Advisors LLC,
      Luma Securities LLC,
 14   Mischler Financial Group, Inc.,
      Oppenheimer & Co. Inc.,
 15   RBC Capital Markets, LLC,
      Samuel A. Ramirez & Co., Inc.,
 16   Stifel Financial Corp.,
      Suntrust Robinson Humphrey, Inc.,
 17   The Williams Capital Group, L.P.,
      UBS Securities LLC,
 18   William Blair & Company, L.L.C.

 19

 20   ADDITIONAL PLAINTIFF’S COUNSEL:
 21   Jeffrey C. Block (pro hac vice forthcoming), Jacob A. Walker (271217), and
      Joel E. Fleming (281264)
 22   Block & Leviton LLP
      155 Federal Street, Suite 400
 23   Boston, MA 02110
      (617) 398-5600
 24

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